

People v Sanchez (2020 NY Slip Op 00163)





People v Sanchez


2020 NY Slip Op 00163


Decided on January 8, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 8, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

JOHN M. LEVENTHAL, J.P.
SYLVIA O. HINDS-RADIX
HECTOR D. LASALLE
VALERIE BRATHWAITE NELSON, JJ.


2014-01788
 (Ind. No. 305/09)

[*1]The People of the State of New York, respondent, 
vCarlos Sanchez, also known as Jorge Bello, appellant.


Carlos Sanchez, named herein as Carlos Sanchez, also known as Jorge Bello, Stormville, NY, appellant pro se.
Melinda Katz, District Attorney, Kew Gardens, NY (John M. Castellano, Johnnette Traill, and Tina Grillo of counsel), for respondent.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated April 18, 2018 (People v Sanchez, 160 AD3d 903), affirming a judgment of the Supreme Court, Queens County, rendered February 19, 2014.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
LEVENTHAL, J.P., HINDS-RADIX, LASALLE and BRATHWAITE NELSON, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








